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12
                            UNITED STATES DISTRICT COURT
13
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
     UNITED STATES OF AMERICA,              No.    2:21-cr-00160 -DMG
15
               Plaintiff,
16                                          DEFERRED PROSECUTION
                     v.                     AGREEMENT
17
     TOUFIC JOSEPH BAAKLINI,
18
               Defendant.
19

20

21   I.   INTRODUCTION
22        1.    This Deferred Prosecution Agreement (the “DPA”) is entered
23   into between the United States Attorney’s Office for the Central
24   District of California (“USAO”) and defendant Toufic Joseph Baaklini
25   (“defendant Baaklini”).     This DPA is entered into only on behalf of
26   the USAO and cannot bind any other federal, state, local or foreign
27   prosecuting, enforcement, administrative, or regulatory authorities.
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 1   The USAO is not aware of other investigations conducted by the USAO

 2   in which defendant Baaklini is a target or subject.

 3         2.   This DPA is entered into to resolve the USAO’s criminal

 4   investigation of defendant Baaklini’s role and conduct regarding

 5   alleged violations of Federal Election Campaign Act laws between

 6   January and March 2016 (the “Investigation”).

 7   II.   CRIMINAL INFORMATION AND ACCEPTANCE OF RESPONSIBILITY

 8         3.   Defendant Baaklini consents and agrees to the USAO filing

 9   in the United States District Court for the Central District of

10   California, an Information in the form attached as Exhibit A that

11   charges defendant Baaklini, in Count One, with assisting federal

12   election campaign contributions exceeding $25,000 to be made in a

13   single year as a foreign national, in violation of 52 U.S.C.

14   §§ 30109(d)(1)(A), 30121(a)(1)(A) and, in Count Two, assisting

15   federal election campaign contributions to be made in the name of

16   another (conduit contributions), in violation of 52 U.S.C.

17   §§ 30109(d)(1)(A), 30122.      In connection with his agreement to the

18   filing of the Information, defendant Baaklini, having been fully

19   advised by his counsel, knowingly and voluntarily:

20              a.    Waives his right to indictment on these charges, as

21   well as all rights to a speedy trial pursuant to the Sixth Amendment

22   to the United States Constitution, Title 18, United States Code,

23   Section 3161, and Federal Rule of Criminal Procedure 48(b), and

24   agrees to reaffirm these waivers at his initial appearance before

25   the court on the Information, if an initial appearance is necessary

26   pursuant to Paragraph 3(f);

27              b.    Waives, relinquishes, and gives up: (i) any right

28   that defendant Baaklini might have not to be prosecuted for the

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 1   offenses charged in the Information because of the expiration of the

 2   statute of limitations for those offenses prior to the filing of the

 3   Information; and (ii) any defense, claim, or argument defendant

 4   Baaklini could raise or assert that prosecution of the offenses

 5   charged in the Information is barred by the expiration of the

 6   applicable statute of limitations, pre-indictment delay, post-

 7   indictment delay, or any speedy trial violation;

 8             c.    Waives, relinquishes, and gives up any right to

 9   challenge the form of the charges alleged in the Information,

10   including without limitation that the charges are duplicitous.

11             d.    Waives, for purposes of the charges in the

12   Information and any other charges that may be filed against

13   defendant Baaklini following a finding by the Court of breach under

14   Paragraph 20 below (a “Breach”) and arising out of the conduct

15   described in the Statement of Facts attached as Exhibit B

16   (“Statement of Facts”), any objection with respect to venue in the

17   Central District of California;

18             e.    Following a Breach, defendant Baaklini agrees to

19   accept service, through counsel reflected in this agreement, of a

20   summons to make an initial appearance on the Information before the

21   criminal duty United States Magistrate Judge, Central District of

22   California, located in the Roybal Federal Building and United States

23   Courthouse, 3rd Floor, 255 E. Temple Street, Los Angeles,

24   California, on a date and time to be agreed upon by the parties to

25   this agreement, but no earlier than 30 days following a Breach and

26   no later than 90 days after a Breach (absent a Breach, defendant

27   Baaklini is not required to appear on the Information); and

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 1              f.   Following a Breach, defendant Baaklini agrees to make

 2   an initial appearance on the Information as specified in the

 3   summons.

 4         4.   Defendant Baaklini acknowledges and agrees that he is

 5   responsible under United States law for the acts charged in the

 6   Information and set forth in the Statement of Facts, and that the

 7   facts described in the Statement of Facts are true and correct.

 8   Should the USAO pursue the prosecution that is deferred by this DPA

 9   following a Breach, defendant Baaklini stipulates to the

10   admissibility of the Statement of Facts in any proceeding, including

11   any trial, guilty plea, or sentencing proceeding involving the

12   charges in the Information or based on the Statement of Facts, and

13   agrees not to contradict anything in the Statement of Facts at any

14   such proceeding.    Defendant Baaklini’s entry into this DPA does not

15   constitute an admission that he is guilty of the offenses charged in

16   the Information.    In the event that the USAO offers the Statement of

17   Facts in any such proceedings, defendant Baaklini agrees that he

18   will not challenge the admissibility or accuracy of the Statement of

19   Facts, but reserves the right to make any other argument relating to

20   the Statement of Facts.

21   III. EFFECTIVE DATE OF AGREEMENT

22         5.   This agreement is effective upon signature and execution

23   of all required certifications by defendant Baaklini, defendant

24   Baaklini’s counsel, and an Assistant United States Attorney (the

25   “Initial Effective Date”).

26   IV.   TERM OF THE DPA

27         6.   This DPA is effective for a period beginning on the

28   Initial Effective Date and ending one year from the Initial

                                           4
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 1   Effective Date (the “Term”).      Defendant Baaklini agrees, however,

 2   that, in the event of a Breach by defendant, then an extension or

 3   extensions of the Term of up to six months may be imposed by the

 4   USAO, without prejudice to the USAO’s right to proceed as provided

 5   in Paragraphs 19-22 below.     Any extension of the Term extends all

 6   terms of this DPA, including the terms and conditions of the

 7   requirements in Paragraphs 9-11, for an equivalent period.

 8         7.    Notwithstanding the foregoing, defendant Baaklini agrees

 9   to continue to cooperate as described in Paragraph 9 of this

10   Agreement until the conclusion of any criminal investigation or

11   prosecution (through the entry of final judgment) of any individual

12   relating to the Statement of Facts.

13   V.    RELEVANT CONSIDERATIONS

14         8.    The USAO enters into this DPA based on the individual

15   facts and circumstances presented by this case and by defendant

16   Baaklini.   Among the factors considered were the following:

17   (a) defendant Baaklini’s cooperation with the government and

18   agreement to further cooperate; (b) defendant Baaklini’s payment of

19   the fine set forth below; (c) defendant Baaklini’s willingness to

20   acknowledge and accept responsibility for the actions charged in the

21   Information and those set forth in the Statement of Facts; (d)

22   defendant Baaklini’s personal mitigating factors; and (e) the nature

23   and seriousness of the offense conduct.

24   VI.   MATERIAL CONDITIONS OF DEFERRED PROSECUTION

25         9.    During the Term, defendant Baaklini agrees to comply with

26   the following conditions:

27               a.   To pay a fine to the United States in the amount of

28   $90,000.    The fine will be paid in full within sixty (60) days of

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 1   the Initial Effective Date of the DPA.       The fine will be paid by

 2   certified check, business check, or money order made payable to

 3   “U.S. Treasury” and will identify the case name and number on the

 4   “memo” line.    The payment can be provided to: United States

 5   Attorney’s Office, Civil Division, Financial Litigation Section, 300

 6   N. Los Angeles St., Suite 7516, Los Angeles, CA 90012, with email

 7   proof of the same provided to the USAO;

 8              b.     Defendant Baaklini agrees to assist the United States

 9   by providing an interview, or interviews, as provided in Paragraph

10   10 below, and by responding truthfully and completely to the

11   questions that may be put to him during that interview (or

12   interviews), as well as any testimony that may be required under

13   that Paragraph;

14              c.     Not to violate any United States law (federal, state

15   or local), with the exception of minor offenses that would be

16   excluded for sentencing purposes under United States Sentencing

17   Guidelines § 4A1.2(c); and

18              d.     To advise the USAO within 48 hours if arrested for a

19   violation of United States criminal law, other than in connection

20   with minor offenses that would be excluded for sentencing purposes

21   under United States Sentencing Guidelines § 4A1.2(c).

22        10.   If requested by the USAO:

23              a.      to participate in in-person interview(s) with

24   representatives from the USAO, Federal Bureau of Investigation

25   (“FBI”), and other government representatives selected at the

26   discretion of the USAO, at the USAO’s office in Los Angeles,

27   California.     The government may elect to conduct the interview by

28   video teleconference, which decision will be at the sole discretion

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 1   of the government.    The government may record the interview, which

 2   decision will be at the sole discretion of the government.           Any

 3   further interview will occur on a date agreed to by the parties

 4   through counsel indicated in this agreement.        Any travel expenses

 5   incurred by defendant for this interview will be the responsibility

 6   of defendant.   Subject to any applicable privilege, during the

 7   course of the interview(s) or shortly thereafter, defendant Baaklini

 8   shall produce to the government any requested documents, including

 9   communications, that are in his possession, custody, or control,

10   regardless of where such documents are held, that may be necessary

11   to refresh his recollection, test the accuracy or veracity of his

12   statements during the interview, or to otherwise support the

13   information provided by defendant Baaklini during the interview.             No

14   later than twenty-one days in advance of each interview, the

15   government will provide defendant Baaklini’s counsel a written list

16   of the participants for each interview and a non-exhaustive written

17   list of agenda items for each interview.

18              b.   In the event that the USAO requires any testimony

19   from defendant Baaklini following his interview(s), defendant

20   Baaklini agrees to accept service of a grand jury or trial subpoena

21   compelling his attendance at a proceeding in the Central District of

22   California.

23        11.   Thirty days prior to the end of the Term, defendant

24   Baaklini will provide to the USAO a certification signed by himself

25   and counsel stating that he has met the conditions set forth in

26   Paragraph 9 of this DPA.     Such certification will be deemed a

27   material statement and representation by defendant Baaklini to the

28   executive branch of the United States for purposes of 18 U.S.C.

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 1   § 1001 (false statement to federal agency) and 18 U.S.C. § 1505

 2   (obstruction of federal proceeding), and it will be deemed to have

 3   been made in the Central District of California.

 4   VII. CONDITIONAL RELEASE FROM LIABILITY

 5        12.    Nothing in this DPA shall preclude or limit the USAO or

 6   any government entity from bringing a criminal prosecution against

 7   defendant Baaklini for making false statements, obstruction of

 8   justice, perjury, subornation of perjury, witness tampering, or

 9   aiding and abetting or conspiring to commit such offenses, based on

10   defendant Baaklini’s conduct in performing obligations under this

11   DPA, including information provided pursuant to defendant Baaklini’s

12   interview(s) or testimony.     Further, the USAO may use any

13   information related to the conduct described in the Statement of

14   Facts against defendant Baaklini: (a) in a prosecution for perjury

15   or obstruction of justice; or (b) in a prosecution for making a

16   false statement.

17        13.    This DPA does not provide any protection against

18   prosecution by the USAO for conduct that is not expressly referenced

19   in the Information or the Statement of Facts.

20        14.    This DPA does not provide any protection against

21   prosecution by the USAO for any future conduct by defendant

22   Baaklini.

23        15.    Nothing in this DPA in any way limits the USAO’s ability

24   to use any information related to the conduct described in the

25   Information or the Statement of Facts in any prosecution or other

26   action not specifically precluded by this DPA.

27        16.    Absent a Breach, with respect to any prosecution that may

28   be brought against defendant Baaklini by the USAO, the USAO will not

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 1   offer in evidence in its case-in-chief any statements made by

 2   defendant Baaklini during the interview(s) or the statements in the

 3   Statement of Facts.

 4           17.   Notwithstanding Paragraph 16 above, the USAO may: (a) use

 5   all information derived directly or indirectly from defendant

 6   Baaklini’s interview(s) for the purpose of obtaining and pursuing

 7   leads to other evidence, which evidence may be used for any purpose,

 8   including any prosecution of defendant Baaklini; and (b) use

 9   statements made by defendant Baaklini pursuant to his interview(s)

10   and all evidence obtained directly or indirectly from those

11   statements for the purpose of cross-examination should defendant

12   Baaklini testify, or to refute or counter at any stage of a criminal

13   proceeding any evidence, argument, statement or representation

14   offered by or on behalf of defendant Baaklini in connection with any

15   proceeding.

16   VIII.         DEFERRED PROSECUTION

17           18.   In consideration of defendant Baaklini’s agreement to the

18   terms set forth in Paragraphs 3, 4, 9, 10, and 11 above, the USAO

19   agrees that any prosecution of defendant Baaklini for the conduct

20   set forth in the Information and Statement of Facts will, subject to

21   the breach provisions in Paragraph 19-22, be deferred for the Term.

22   Absent a Breach, when the Term has expired, the USAO will move the

23   Court to dismiss the Information with prejudice.

24   IX.     BREACH OF THE AGREEMENT

25           19.   Defendant Baaklini agrees that if, during the Term, (a)

26   the government determines that any material fact included in the

27   Statement of Facts is false; (b) Baaklini knowingly and deliberately

28   provides in connection with this DPA materially false or misleading

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 1   information; (c) Baaklini knowingly fails to fulfill the obligations

 2   set forth in Paragraphs 3, 4, 9, 10, 11, and 24 of this DPA; or (d)

 3   Baaklini otherwise fails specifically to perform or to fulfill

 4   completely any of defendant Baaklini’s obligations under this DPA,

 5   the USAO may, in its discretion, subject to the procedural

 6   requirements of Paragraph 20 below, seek from the Court a finding

 7   that defendant has knowingly breached a provision of this DPA.

 8   Counsel for defendant Baaklini will be provided notice of any motion

 9   to the Court seeking a finding of breach and have an opportunity to

10   respond to such a motion.      Upon such a finding by the Court,

11   defendant Baaklini shall thereafter be subject to prosecution for

12   any federal criminal violation of which the USAO has knowledge,

13   including, but not limited to, the charges in the Information

14   described in Paragraph 3.

15        20.    In the event the USAO determines that defendant Baaklini

16   has knowingly breached a provision of this DPA deemed material by

17   the USAO, the USAO agrees to provide defendant Baaklini with written

18   notice of the conduct constituting such breach through counsel

19   reflected in this agreement.      Within thirty days of receipt of such

20   notice, defendant Baaklini shall have the opportunity to respond to

21   the USAO in writing to explain the nature and circumstances of the

22   conduct underlying the alleged breach, as well as the actions

23   defendant Baaklini has taken to address and remediate the situation,

24   which explanation the USAO shall consider in determining whether to

25   seek from the Court a finding that defendant Baaklini has breached

26   this DPA.   A final determination that a material breach has occurred

27   may be made only upon a finding by the Court, based on a

28   preponderance of evidence, that defendant Baaklini knowingly

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 1   breached a provision of the DPA deemed material by the USAO, after

 2   notice to defendant Baaklini and his counsel and an opportunity to

 3   be heard by the Court.

 4        21.   In the event that the Court determines that defendant

 5   Baaklini has breached this DPA and the USAO determines to pursue

 6   prosecution of defendant Baaklini for the charges in the

 7   Information, then: (a) all statements made by or on behalf of

 8   defendant Baaklini to the USAO or to the Court, including the

 9   Statement of Facts and during defendant Baaklini’s interview(s), and

10   any evidence derived from such statements, shall be admissible

11   against defendant Baaklini in any criminal prosecution brought by

12   the United States against defendant Baaklini; (b) defendant Baaklini

13   waives, gives up, and shall not assert any claim under the United

14   States Constitution, any statute, Rule 11(f) of the Federal Rules of

15   Criminal Procedure, Rule 410 of the Federal Rules of Evidence, or

16   any other federal rule that any statements made by or on behalf of

17   defendant Baaklini prior or subsequent to this DPA, including the

18   Statement of Facts or statements made during defendant Baaklini’s

19   interview(s), or any evidence derived therefrom, should be

20   suppressed or is inadmissible, in a prosecution by the United States

21   against defendant Baaklini; (c) defendant Baaklini agrees that any

22   applicable statute of limitations for the charges in the Information

23   is tolled between the date of his signing of this DPA and the date

24   60 days after the Court’s finding that defendant Baaklini has

25   breached this agreement; and (d) defendant Baaklini remains bound by

26   all other waivers expressly made as part of this agreement.

27        22.   Defendant Baaklini acknowledges that the USAO has made no

28   representations, assurances, or promises concerning what sentence

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 1   may be imposed by the Court if defendant Baaklini breaches this DPA,

 2   the USAO follows through with prosecution, and this matter proceeds

 3   to judgment.   Defendant Baaklini further acknowledges that any such

 4   sentence is solely within the discretion of the Court and that

 5   nothing in this DPA binds or restricts the Court in the exercise of

 6   such discretion.

 7   X.   PUBLIC FILINGS AND STATEMENTS

 8        23.   Defendant Baaklini and the USAO agree that the Information

 9   and DPA (and its exhibits) shall be publicly filed in the United

10   States District Court for the Central District of California before

11   the expiration of the Term.      At least 10 court days prior to the

12   USAO filing the Information and DPA or a press release related to

13   the Information and DPA, the USAO will provide counsel reflected in

14   this agreement notice of its intent to file the Information and DPA

15   or press release.

16        24.   Defendant Baaklini expressly agrees that he shall not,

17   either himself or through present or future attorneys, agents, or

18   any other person authorized to speak for defendant Baaklini, make

19   any public statement, in litigation or otherwise, contradicting the

20   facts set forth in the Statement of Facts.        Any material

21   contradictory statement by defendant Baaklini, or directed or

22   knowingly caused by him, regarding a fact in the Statement of Facts

23   shall, subject to cure rights of defendant Baaklini described below,

24   constitute a Breach of this DPA, and the USAO may thereafter seek a

25   finding from the Court of Breach.       If the Court finds a knowing

26   Breach, the USAO may then seek prosecution as set forth in

27   Paragraphs 18-21 of this DPA.      The decision whether any public

28   statement by defendant Baaklini’s counsel, agent, or other person

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 1   authorized to act on his behalf, materially contradicting a fact

 2   contained in the Statement of Facts will be imputed to defendant

 3   Baaklini for the purpose of determining whether he has breached this

 4   DPA shall be subject to a finding by the Court, based on a

 5   preponderance of the evidence, after notice to defendant Baaklini

 6   and his counsel and opportunity for a hearing on the alleged breach.

 7   Defendant Baaklini may avoid a Breach of this DPA by publicly

 8   repudiating such statement(s) within five business days after the

 9   Court’s finding.    Defendant Baaklini shall be permitted to raise

10   defenses and to assert affirmative claims in other proceedings

11   relating to the matters set forth in the Statement of Facts provided

12   that such defenses and claims do not materially contradict, in whole

13   or in part, a statement contained in the Statement of Facts or made

14   during defendant’s interview(s).

15   XI.   MISCELLANEOUS PROVISIONS

16         25.   Any notice or report to the USAO under this DPA shall be

17   provided (1) via email to mack.jenkins@usdoj.gov and

18   aron.ketchel@usdoj.gov and by personal delivery, overnight delivery
19   by a recognized delivery service, or registered or certified mail,
20   addressed to:
21         Mack E. Jenkins or
22         Chief, Public Corruption and Civil Rights Section
           United States Attorney’s Office, Central District of California
23         312 N. Spring Street, 15th Floor
           Los Angeles, CA 90012
24

25   Notice shall be effective upon actual receipt by the USAO.

26         26.   This DPA may be executed in one or more counterparts, each

27   of which shall be considered effective as an original signature.

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 1   Further, all digital images of signatures shall be treated as

 2   originals for all purposes.

 3         27.   This DPA is covered by the laws of the United States.             The

 4   USAO and defendant Baaklini agree that exclusive jurisdiction and

 5   venue for any dispute arising under this DPA is in the United States

 6   District Court for the Central District of California.

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                           Statement of Facts


     Between in or around January 2016 and February 2016, TOUFIC

BAAKLINI (“BAAKLINI”) conspired with Gilbert Chagoury

(“Chagoury”), a second individual (“Individual G”), a third

individual (“Individual H”), and others to violate United States

laws by (i) making federal election campaign contributions

exceeding $25,000 in a single year as a foreign national, in

violation of 52 U.S.C. §§ 30109(d)(1)(A), 30121(a)(1)(A); and

(ii) making federal election campaign contributions in the name

of another (conduit contributions), in violation of 52 U.S.C.

§§ 30109(d)(1)(A), 30122.

     At all times relevant to this factual statement, BAAKLINI

knew that Chagoury, a Nigerian-born, billionaire businessperson

of Lebanese descent, was a “foreign national” within the meaning

of 52 U.S.C. § 30121(b) and was therefore prohibited from making

donations and contributions directly or indirectly in support of

any candidate for elective office in the United States.

     In January 2016, Chagoury arranged for $30,000 of his money

to be contributed through other individuals to the re-election

campaign of a U.S. Representative (“Federal Candidate D”).

Chagoury arranged for Individual G to provide $50,000 in cash to

BAAKLINI, which BAAKLINI understood a portion of which would be

used to fund conduit campaign donations to U.S. candidates for

elective office.    BAAKLINI then provided $30,000 in cash to

Individual H in order to contribute the money to Federal

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                           Statement of Facts


Candidate D’s campaign.     BAAKLINI provided the $30,000 in cash

from CHAGOURY to Individual H at a restaurant in Los Angeles,

California in January 2016 and expected Individual H to identify

multiple individuals who could contribute the funds to the

campaign of Federal Candidate D.          After receiving the cash from

BAAKLINI, Individual H hosted a fundraiser for Federal Candidate

D.   During the fundraiser, Individual H, as well as other

individuals Individual H recruited and reimbursed using

Chagoury’s cash, made campaign contributions to Federal

Candidate D’s campaign fund in February 2016 totaling $30,200.

      During the course of events described above, BAAKLINI knew

that it was illegal both for Chagoury to contribute to

candidates for elective office in the U.S. and to make

contributions in the name of other individuals.

      In approximately late February 2016, BAAKLINI saw Federal

Candidate D in Washington, D.C.       Federal Candidate D approached

BAAKLINI and asked BAAKLINI something to the effect of, “Do you

think anything was wrong with the [Individual H-hosted]

fundraiser?”    BAAKLINI replied by falsely stating “no” and then

asked “why?”.    Federal Candidate D further explained the source

of his concern was, something to the effect of, “because it all

came from the same family.”

      Following this exchange in late February 2016, BAAKLINI has

not communicated in any form with Federal Candidate D or anyone

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                           Statement of Facts


acting on Federal Candidate D’s behalf regarding any aspect of

the February 2016 Individual H-hosted fundraiser for Federal

Candidate D.




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                                EXHIBIT A
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 8                            UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               CR No.

11               Plaintiff,                  I N F O R M A T I O N

12               v.                          [52 U.S.C. §§ 30121(a)(1)(A),
                                             30109(d)(1)(A): Campaign
13   TOUFIC JOSEPH BAAKLINI,                 Contribution by Foreign National;
                                             52 U.S.C. §§ 30122,
14               Defendant.                  30109(d)(1)(D): Conduit Campaign
                                             Contribution]
15

16           The Acting United States Attorney charges:
17                                     COUNT ONE
18        [52 U.S.C. §§ 30121(a)(1)(A), 30109(d)(1)(A); 18 U.S.C. § 2]
19           From in or around January 2016 to in or around February 2016, in
20   Los Angeles County, within the Central District of California, and
21   elsewhere, defendant TOUFIC JOSEPH BAAKLINI, while aiding and
22   abetting those known and unknown to the Acting United States
23   Attorney, including co-conspirator Gilbert Ramez Chagoury, a foreign
24   national, knowingly and willfully violated the Federal Election
25   Campaign Act by assisting Chagoury’s federal election campaign
26   contributions exceeding $25,000 to Federal Campaign D’s campaign in
27   2016.
28
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 1                                     COUNT TWO

 2             [52 U.S.C. §§ 30122, 30109(d)(1)(D); 18 U.S.C. § 2]

 3         On or about the following dates, in Los Angeles County, within

 4   the Central District of California, and elsewhere, defendant TOUFIC

 5   JOSEPH BAAKLINI, while aiding and abetting those known and unknown to

 6   the Acting United States Attorney, knowingly and willfully violated

 7   the Federal Election Campaign Act by assisting co-conspirator Gilbert

 8   Ramez Chagoury’s following federal election campaign contributions in

 9   the name of another exceeding $25,000 in a single calendar year.

10   More specifically, defendant BAAKLINI knowingly and willfully aided

11   Chagoury to contribute to Federal Candidate D Fund’s campaign by

12   providing Chagoury’s funds to Individual A who, in turn, provided

13   Chagoury’s funds to individuals who made the following contributions

14   to federal campaign committees, which were fully reimbursed with

15   Chagoury’s funds:

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 1     Date                    Campaign                     Conduit        Amount
                                                          Contributor
 2   3/12/16 Federal Candidate D Fund                         EA           $5,400
 3
     3/12/16 Federal Candidate D Fund                           MA         $4,600
 4
     3/12/16 Federal Candidate D Fund                           JA         $5,400
 5

 6   3/12/16 Federal Candidate D Fund                           AA         $5,400

 7   3/12/16 Federal Candidate D Fund                           AA         $2,600
 8
     3/12/16 Federal Candidate D Fund                           BA         $2,600
 9
     3/12/16 Federal Candidate D Fund                           TA         $1,600
10
     3/12/16 Federal Candidate D Fund                           CF         $2,600
11

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13                                          TRACY L. WILKISON
                                            Acting United States Attorney
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16                                          BRANDON D. FOX
                                            Assistant United States Attorney
17                                          Chief, Criminal Division

18                                          MACK E. JENKINS
                                            Assistant United States Attorney
19                                          Chief, Public Corruption and Civil
                                            Rights Section
20
                                            ARON KETCHEL
21                                          Assistant United States Attorney
                                            Public Corruption and Civil Rights
22                                          Section

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